                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

UNITED STATES OF AMERICA                         )
                                                 ) Case No. 7:16-cr-0057
                                                 )
v.                                               )
                                                 )
                                                 )
DOSHAY ANTWAN SMITH,                             ) By: Michael F. Urbanski
                                                 ) Chief United States District Judge
       Petitioner                                )


                             MEMORANDUM OPINION

       Doshay Antwan Smith, a federal inmate currently serving a 168-month sentence for

drug offenses, has filed a Motion to Vacate, Set Aside or Correct Sentence pursuant to 28

U.S.C. § 2255. ECF No. 202. On August 19, 2019, the United States filed a motion to dismiss

to which Smith responded on September 6, 2019. ECF Nos. 217, 220. Smith also filed a

motion for summary judgment on August 21, 2019. ECF No. 219. For the reasons set forth

below, the court GRANTS the government’s motion to dismiss, DENIES Smith’s motion

for summary judgment, and DENIES Smith’s motion for § 2255 relief.

                                    BACKGROUND

       On January 12, 2017, Smith was charged in a second superseding indictment with two

counts of distributing a mixture containing a detectable amount of methamphetamine in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Counts One and Two) and one count of

conspiring to possess and distribute 500 grams or more of a mixture containing a detectable

amount of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) (Count

Three). ECF No. 34. On May 26, 2017, Smith entered into a written plea agreement in which
he agreed to plead guilty to Counts One and Two of the second superseding indictment. Count

Three would be dismissed. Plea Agreement, ECF No. 115 at 1-2.

       The Plea Agreement noted that the court would make the determination of the

appropriate guideline sentencing range in Smith’s case and no representation was made to him

regarding what the sentence would be. He was further advised that the court would make the

determination of whether he was a career offender under U.S.S.G. § 4B1.1. If he were

sentenced as a career offender, he would be facing a statutory maximum sentence of 20 years

based on 21 U.S.C. 841(b)(1)(C), and his guideline-based offense level would be 32. Reducing

that level by 3 points for acceptance of responsibility would result in a total offense level of

29. Coupled with his criminal history category VI, his sentencing range under the guidelines

would be 151-188 months. If his offense level as a career offender was greater than the offense

level otherwise applicable, the career offender guideline would apply. Plea Agreement, ECF

No. 115 at 3.

       The Plea Agreement further noted that for purposes of Guideline Sections 2D1.1 and

1B1.3, the drug weight was a factual matter to be determined by the court. Id. at 4. Smith

agreed to waive his right to appeal his sentence, except for appealing any issue which could

not be waived by law. Id. at 7. He also agreed to waive his right to collaterally attack his

conviction or sentence, except for asserting a claim for ineffective assistance of counsel. Id.

Smith entered a guilty plea the same day as he signed the Plea Agreement, and a sentencing

hearing was set for October 20, 2017. ECF Nos. 116-119.

       On October 5, 2017, the government filed a sentencing memorandum, ECF No. 142,

noting that it was relying on the agreed statement of facts filed at the time of Smith’s guilty


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plea, ECF No. 117, and the “Offense Conduct” contained in paragraphs 20-107 of the

Presentence Investigation Report (“PSR”).1 The government made clear that it was not relying

on paragraphs 74 and 90-94 of the PSR and asked the court not to consider them. Those

paragraphs referred to statements made by Brittney Edwards, and “lacked the necessary indicia

of reliability.” ECF No. 142 at 1. The government also asked that paragraph 84, which referred

to a proffer by Smith, not be used as substantive evidence, but only be considered as evidence

of his acceptance of responsibility. Id. at 1-2.

        The government next noted that the Plea Agreement anticipated a guideline range of

151-188 months, while the PSR called for a guideline range of 235-293 months. The

government attributed the discrepancy to the fact that the range calculated by the parties was

premised on the application of the career offender guidelines alone without regard to the

normal guideline calculation, which turned out to be higher. Nevertheless, the government

recommended a sentence at the high end of the 151-188 range. Id. at 2.

        On October 20, 2017, the court received a copy of a letter Smith sent to the Assistant

United States Attorney prosecuting his case. In the letter, Smith objected to references in the

PSR that he had participated in a conspiracy because he had not pled to the conspiracy count.

He also alleged that he had been duped and tricked by his attorney, Seth Weston, into entering

the plea. ECF No. 149 at 4. On October 31, 2017, attorney Weston filed a motion to withdraw

the guilty plea and a motion to withdraw as counsel. ECF Nos. 149, 150. Following a hearing

on the motions, the court granted the motion to withdraw and appointed Linda Willis as new


1 For reasons which are not clear, the PSR for Smith was not filed in this case. However, the parties and the
court referred to the contents of the PSR both in writing and during the sentencing hearing and the court has
relied on these representations in assessing Smith’s § 2255 arguments.
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counsel for Smith. The court took the motion to withdraw the guilty plea under advisement.

ECF Nos. 165, 166, 172.

       Attorney Willis submitted a sentencing memorandum on June 10, 2018 in anticipation

of the sentencing hearing set for June 20, 2018. ECF No. 195. She argued that the court should

not rely on the testimony of Brittney Edwards, and in particular on a weight calculation

attributing 7.654 kilograms of methamphetamine to Smith based on Edwards’s testimony,

because Edwards’s credibility was highly questionable. ECF No. 195 at 2. Willis also argued

that Smith did not agree that he should be held responsible for more than 5 kilograms of

methamphetamine and believed that his base offense level would be calculated more correctly

at 32 rather than 34. He also denied using a firearm in the course of selling methamphetamine,

although he conceded that he had possessed firearms in his life and had been around others

with firearms. He also objected to the two-level enhancement for the firearm based on the

testimony of Charles Doss that he had seen drugs and guns at Smith’s house because Doss

was a drug addict and could provide no further details about his observations. Id. at 2-3. Willis

asked for a sentence of no more than 151 months. Id. at 195.

       At the June 20, 2018 sentencing hearing, Smith confirmed that he still wanted to plead

guilty and proceed with sentencing. Sent. Hr’g Tr., ECF No. 215 at 6-7. The court noted that

there were questions regarding the drug weight for which Smith would be held responsible

and also regarding whether his offense level should be increased two points for possession of

a firearm.

       The PSR listed the drug weight as 5 to 15 kilograms, which corresponded to an offense

level of 34. Id. at 9. After hearing testimony from the probation officer who prepared the PSR,


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the parties agreed to “go down a step” in the drug weight, to a range of 1.5 to 5 kilograms,

with the result that Smith’s base offense level would be 32 instead of 34. Id. at 18-19. The

court agreed and made a finding that Smith’s base offense level was 32. Id. at 19. The court

also pointed out that if Smith were being sentenced as a career offender his base offense level

would be 32, but clarified that he was not being sentenced as a career offender. Id. at 20, 23.

       Willis withdrew her objection to a two-point enhancement for possession of a firearm.

Id. at 18. She did so because in an earlier proffer, Smith had stated that on one occasion he

had traded a small amount of methamphetamine for a firearm. Id. at 21.

       The court noted that it was not going to consider the statements of Brittany Edwards

in the PSR and was not going to consider Smith’s proffer statement, except to establish

acceptance of responsibility. Id. at 22. The court found that his base offense level was 32,

based on 1.5 to 5 kilograms of methamphetamine. His offense level was increased by 2 points

for possession of a firearm, because a preponderance of the evidence showed that at least on

one occasion he had possessed a firearm. Id. at 22-23. The court then found that he was

entitled to a 3-point decrease for acceptance of responsibility, making his total offense level

31. Id. at 23-24. With his criminal history category of VI, Smith had a guidelines sentencing

range of 188-235 months. Id. at 25. The court further noted that in the Plea Agreement, the

guideline range was contemplated as being 151-188 months and because that was the agreed-

upon range, the government was recommending a sentence at the low end of the newly-

calculated guideline range, or 188 months. Id. at 25-26. After hearing testimony from Smith

and argument from the attorneys, the court sentenced Smith to a below-guidelines sentence

of 168 months.


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       Smith did not file a direct appeal. He filed this § 2255 motion on May 9, 2019 and

argues that both of his attorneys provided ineffective assistance of counsel. He asserts that (1)

attorney Weston was ineffective when he did not accurately predict the appropriate sentence

based on the relevant drug weights, which caused the court to miscalculate his sentence; (2)

attorney Willis failed to challenge Edwards’s statements about the drug weight attributable to

Smith; (3) Both attorneys failed to research his case, coerced him into a plea agreement, and

failed to advise him he could have a relevant conduct hearing on the issue of drug quantity;

(4) Willis was ineffective for failing to challenge the 2-point enhancement based on possession

of a firearm; and (5) Willis ignored his motion to withdraw his guilty plea.

                                    APPLICABLE LAW

       A. 28 U.S.C. § 2255

       To state a viable claim for relief under § 2255, a petitioner must prove: (1) that his

sentence was “imposed in violation of the Constitution or laws of the United States;” (2) that

“the court was without jurisdiction to impose such a sentence;” or (3) that “the sentence was

in excess of the maximum authorized by law, or is otherwise subject to collateral attack.” 28

U.S.C. § 2255(a). If a petition alleges a sentencing error that is neither constitutional nor

jurisdictional, “a district court lacks authority to review it unless it amounts to a fundamental

defect which inherently results in a complete miscarriage of justice.” United States v. Foote,

784 F.3d 931, 936 (4th Cir. 2015) (quoting Davis v. United States, 417 U.S. 333, 346 (1974)).

A petitioner collaterally attacking his conviction or sentence via a § 2255 petition bears the

burden of showing by a preponderance of evidence that he is entitled to relief. White v. United




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States, 352 F.Supp.2d 684, 687 (E.D. Va. 2004) (citing Miller v. United States, 261 F.2d 546

(4th Cir. 1958), and Vanater v. Boles, 377 F.2d 898, 900 (4th Cir. 1967)).

       B. Ineffective Assistance of Counsel

       Criminal defendants have a Sixth Amendment right to effective legal assistance.

Strickland v. Washington, 466 U.S. 668, 687 (1984). To establish that counsel’s assistance was

not reasonably effective, a defendant must satisfy a two-prong analysis: he must show both

that counsel’s performance fell below an objective standard of reasonableness and that he was

prejudiced by counsel’s alleged deficient performance. Strickland, 466 U.S. at 669.

       When considering the reasonableness prong of Strickland, courts apply a “strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance.” Id. at 689; see also Gray v. Branker, 529 F.3d 220, 228–29 (4th Cir. 2008). “The

performance of counsel is measured in terms of ‘reasonableness under prevailing professional

norms.’” Gray, 529 F.3d at 228 (quoting Strickland, 466 U.S. at 688). The court must judge

counsel “on the facts of the particular case,” and assess counsel’s performance “from counsel’s

perspective at the time.” Strickland, 466 U.S. at 689.

       To satisfy the prejudice prong of Strickland, a defendant must show that there is a

reasonable probability that, but for counsel’s unprofessional error, the outcome of the

proceeding would have been different. Id. at 694. “A reasonable probability is a probability

sufficient to undermine confidence in the outcome.” Id. When a petitioner argues that he

received ineffective assistance of counsel as part of a plea agreement, he must show that “there

is a reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and

would have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).


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       1. Calculation of Guidelines Sentence

       A sentence must be both procedurally and substantively reasonable. United States v.

Williamson, 953 F.3d 264, 268 (4th Cir. 2020). A sentence is not procedurally reasonable if the

district court did not properly calculate the guidelines range. Id. However, § 2255 generally

provides no relief for a sentencing error unless the sentence exceeds the statutory maximum.

Foote, 784 F.3d at 939; United States v. Link, 214 F.Supp.3d 506, 515 (E.D. Va. 2016).

Nevertheless, a prisoner can show prejudice under the Strickland standard if his attorney’s

behavior fell below the range of competence demanded from attorneys in criminal

proceedings and caused him to receive additional prison time at sentencing. United States v.

Spafford, No. 1:08CR00037-002, 2010 WL 2991034, at *2 (W.D. Va. July 28, 2010) (citing

Glover v. United States, 531 U.S. 198, 203-04 (2001)).

       (a) Drug Weight Calculation

       In determining drug weight for purposes of calculating a sentence under the guidelines,

courts look to both the offense of conviction and a defendant’s relevant conduct. Williamson,

953 F.3d at 269. “‘[R]elevant conduct’ means a defendant’s own behavior generally

surrounding the offense of conviction and also, when applicable, the behavior of his

accomplices or co-conspirators.” Id. “For drug offenses, the Guidelines make clear that

‘[t]ypes and quantities of drugs not specified in the count of conviction may be considered in

determining the offense level,’ as long as those drugs were part of ‘relevant conduct’ under the

Guidelines.” Id. (citing U.S.S.G. § 2D1.1, cmt. n.5).

       Smith contends that his attorney Weston was ineffective because he did not accurately

predict the appropriate sentence based on the relevant drug weights, which caused the court


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to miscalculate his sentence. The crux of his argument appears to be that because the written

factual basis for the guilty plea, ECF No. 117, stated that Smith had participated in one drug

buy of 1.36 grams of methamphetamine, and a second drug buy of .77 grams of

methamphetamine, that his guidelines sentence should have been based on a total of 2.1 grams

of methamphetamine, which would have given him a base offense level of 12. With his

criminal history category of VI, his guidelines range would have been 30 to 37 months.

       Instead, his guidelines range was based on his being responsible for 1.5 to 5 kilograms

of methamphetamine, which resulted in a base offense level of 32. After adjustments, his total

offense level was 31, which resulted in a guidelines sentencing range of 188 to 235 months.

Sent. Hr’g Tr., ECF No. 215 at 23, 25.

       However, the guidelines range in Smith’s case, based on the PSR and testimony by the

probation officer, was correct. The probation officer testified at Smith’s sentencing hearing

that according to statements by Barry Miles, one of Smith’s co-defendants, and other persons

who bought drugs from Miles, Smith frequently delivered narcotics for Miles. One buyer

stated he was fronted one to two ounces of crystal methamphetamine every two to three days

from Miles and another stated she had bought one-half gram to one gram of crystal

methamphetamine from Miles twice per week over a six-month period. Another individual

described Smith as being “interchangeable” with Miles. Sent. Hr’g Tr., ECF No. 215 at 13-14.

Other buyers stated that after Miles was arrested, Smith had taken over the business and

handled it until Miles was released from custody and could handle his own customers. Id. at

15.




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       After hearing the testimony of the probation officer, and after Smith and his attorney

discussed the testimony, the parties agreed that the evidence supported a finding that Smith

was responsible for between 1.5 and 5 kilograms of methamphetamine. Id. at 18. The court

also agreed and made the finding that a base offense level of 32 based on 1.5 to 5 kilograms

of methamphetamine was supported by the record. Id. at 20; see U.S.S.G. § 2D1.1(4). With

adjustments, his total offense level was 31, which along with his criminal history category of

VI resulted in the guidelines range of 188-235 month. See U.S.S.G. Ch. 5 Pt. A.

       Smith does not argue with the actual calculation, but asserts that the court relied upon

the testimony of Brittany Edwards to find that he was responsible for 7.64 kilograms of

methamphetamine. However, the court expressly did not rely upon the testimony of Edwards

and found that Smith was responsible for between 1.5 and 5 kilograms of methamphetamine,

rather than 7.64 kilograms. The court stated the following:

       Based on the position of the government and the position of the defendant I’m
       not going to consider paragraphs 74, 90 through 94. Those are the Brittany
       Edwards statements; I’m not considering them…. I’m going to find the base
       offense level is going to be a 32 instead of a 34. I find it that way based on the
       parties’ agreement and I believe sufficient evidence in the record to establish 1.5
       to five kilograms of methamphetamine.

Sent. Hr’g Tr., ECF No. 215 at 22. Thus, Smith’s assertion that the court relied upon Edward’s

testimony to find that he was responsible for 7.4 kilograms is not supported by the record.

       Smith also argued that his relevant conduct was immaterial to determining his

guidelines sentence, citing in support United States v. Clay, 117 F.3d 317 (6th Cir. 1997).




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However, Clay does not reach such a conclusion2 and as discussed above, relevant conduct

includes a defendant’s own behavior generally surrounding the offense of conviction.

Williamson, 953 F.3d at 269. In this case, although Smith was not convicted of conspiracy, his

relevant conduct includes the drugs he sold to various buyers along with his co-defendant

Miles.

         The court’s determination of Smith’s guidelines sentencing range, based on relevant

conduct including the sale of 1.5 to 5 kilograms of methamphetamine, was not error.

Therefore, any calculation or prediction by Smith’s attorney prior to the sentencing hearing

that lead to that finding was not ineffective assistance of counsel.

         Smith also complains that Willis was ineffective for failing to challenge Edward’s

statements about the drug weight attributable to Smith. However, as discussed above, this

argument is a mischaracterization of the evidence and of the court’s finding. All the parties

agreed that Edwards’s testimony was unreliable and should not be considered and the court

expressly declined to consider it. Sent. Hr’g Tr., ECF No. 215 at 10-11, 12-13, 19-20.

Therefore, any argument of ineffective assistance of counsel based on either of Smith’s

attorneys failing to challenge Edwards’s statements is without merit.

         (b) Two-Point Increase based on Firearm

         Smith’s base offense level was increased by two points for possession of a firearm. At

the sentencing hearing, the probation officer testified that the PSR showed that on November

30, 2016, John Bryant said he purchased methamphetamine from Smith and at that time Smith


2 In Clay, the Sixth Circuit held that where the facts underlying a conviction under 21 U.S.C. § 841 indicate the
involvement of a juvenile, § 2D1.2 is the appropriate section for the district court to rely upon in determining
the defendant's sentence. Clay, 117 F.3d at 320.
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held an AK-47 firearm in his lap. Sent. Hr’g Tr., ECF No. 215 at 16. On March 7, 2017, Brian

Muse reported seeing Miles and Smith point firearms at another man who tried to cheat them

out of money. Id. at 16-17.

        In his response to the government’s motion to dismiss, Smith argued that he was

incarcerated on November 30, 2016 and March 7, 2017 and could not have been seen with a

firearm. ECF No. 220 at 1-2. However, the court does not read the testimony of the probation

officer as stating that the events occurred on those two days. Rather, it appears that the

statements were made on those two days, as both men were in federal custody at that time.

See United States v. John Mark Bryant, No. 7:16-cr-00044-EKD (W.D. Va. filed Aug. 18,

2016) and United States v. Brian Dominique Muse, No. 17-cr-00011-MFU (W.D. Va. filed

Feb. 2, 2017). Thus, the fact that Smith was in custody does not preclude consideration of the

statements by the two men.

        Smith also argues that his first attorney, Patrick Kenny,3 encouraged him to proffer and

it was his understanding that the proffer was made with the agreement that it would not be

used by the government to increase his sentence. As part of the proffer, he admitted to

possessing a firearm. He argues that he received ineffective assistance of counsel from Kenny

when the attorney encouraged him to proffer and that Willis provided ineffective assistance

of counsel because she failed to challenge the 2-point enhancement based on the proffer.

        Willis explained her reasons for not objecting to the firearm enhancement at the

hearing:


3Patrick Kenney was appointed to represent Smith shortly after his arrest. ECF No. 7. Kenney was terminated
as counsel on January 20, 2017 and Weston was appointed the same day. Minute Entry of January 20, 2017 and
ECF No. 49.
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       Mr. Willis is very adamant that he is not a violent person, a gun-carrying person,
       he doesn’t have that reputation, and many of these statements [from people
       who said he possessed a firearm] were absolutely false.

       That being said, Mr. Smith himself made a statement earlier on, in an earlier
       proffer, that on one occasion he traded a small amount of meth for a firearm. I
       think that statement that came out of his own mouth will come back to haunt
       him and that would probably get him there. So it seems to be somewhat of a
       waste of time to try to challenge five other statements that we think are
       inaccurate when there’s one that will probably get him there anyway.

Sent. Hr’g Tr., ECF No. 215 at 6-7.

       Even though Willis referred to the proffer, the record shows that the court did not rely

on the proffer to find that Smith’s offense level should be increased for possession of a

firearm. The court stated, “I’m not considering the proffer statement of Mr. Smith, paragraph

84, except to establish acceptance of responsibility.” Id. at 22. Instead, the court relied on

“statements throughout the record of a gun being involved with Mr. Smith,” finding by a

preponderance of the evidence that on at least one occasion he had possessed a gun. Id. at 23.

Therefore, even if Willis should not have referred to the proffer as evidence that Smith

possessed a firearm, he was not prejudiced by her statement because the court did not rely on

the proffer to make the firearm finding.

       The record shows that Smith’s sentence was calculated correctly and that his attorneys

provided effective assistance of counsel in their assessment of the evidence against him, as

well as in the advice they gave him regarding factors the court would consider at sentencing.

His arguments to the contrary are without merit.

       2. Voluntariness of Plea

       In Blackledge v. Allison, 431 U.S. 63, 71 (1977), the Supreme Court noted that guilty

pleas and plea bargains are important components of this country’s criminal justice system and
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properly administered, they benefit all concerned. Representations of the defendant, his

lawyer, and the prosecutor at a plea hearing, as well as findings made by the judge accepting

the plea, “constitute a formidable barrier in any subsequent collateral proceedings.” Id. at 73-

74. “Solemn declarations in open court carry a strong presumption of verity. The subsequent

presentation of conclusory allegations unsupported by specifics is subject to summary

dismissal, as are contentions that in the face of the record are wholly incredible.” Id. at 74

(citations omitted). “[I]in the absence of extraordinary circumstances, the truth of sworn

statements made during a Rule 11 colloquy is conclusively established, and a district court

should, without holding an evidentiary hearing, dismiss any § 2255 motion that necessarily

relies on allegations that contradict the sworn statements.” United States v. Lemaster, 403 F.3d

216, 221-222 (4th Cir. 2005).

       Smith argues that attorney Weston coerced him into pleading guilty, that attorney Willis

told him that he could not withdraw his plea, and that he was never advised that his motion

to withdraw his plea was not being considered by the court. However, the record does not

support any of these allegations.

       On May 9, 2017, Smith initialed each page and signed the plea agreement in his case.

Plea Agreement, ECF No. 115. On May 26, 2017, at the plea hearing, he stated that he had

gone over the Plea Agreement, discussed it with his attorney, and understood what it said. Plea

Hr’g Tr., ECF No. 217-1 at 10-11. The prosecutor went over the terms of the Plea Agreement

in court and Smith said he understood them. Id. at 11-18. The court explained the following:

       So what you need to take away from this is, while there is a guideline range, and
       it will be established, and we don’t know right now what that guideline range is
       going to be, I don’t know, but at the end of the day, I have the authority to


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       sentence you, for each of those offenses, to a period of incarceration of zero to
       20 years . . . for each offense.

Id. at 15-16. Smith acknowledged that he understood and proceeded to plead guilty to Counts

One and Two. Id. at 16, 38.

       In October 2017, Smith wrote the letter to the prosecutor, arguing that when he signed

the Plea Agreement, he understood that he was not pleading guilty to the conspiracy charge

and also that he would be sentenced to no more than 188 months. ECF No. 149 at 3. He

believed the sentencing memorandum filed by the government categorized his case as a

conspiracy, which he argued was inaccurate. Id. at 3-4. He also disagreed with the finding by

the probation officer in the PSR that his sentencing range was 225-293 months. Id. at 4. He

said he would not have entered the Plea Agreement had he not been duped by attorney

Weston, whom he believed was working with the government to trick him into the plea. Id.

       On October 31, 2017, Weston filed a motion to withdraw Smith’s guilty plea as well as

a motion to withdraw as counsel. ECF Nos. 150-151. The government filed a response in

opposition to Smith’s motion to withdraw his plea. ECF No. 159. On December 4, 2017, the

court granted Weston’s motion to withdraw as counsel and appointed Willis as counsel for

Smith. ECF No. 165.

       On June 20, 2018, Smith, represented by Willis, proceeded to sentencing. The court

summarized what had occurred in the case up until that day, including the filing of the motion

to withdraw the guilty plea. Sent. Hr’g Tr., ECF No. 215 at 3-6. Willis said that Smith intended

to withdraw the motion to withdraw the guilty plea. Id. at 6. The following colloquy then

occurred between the court and Smith:



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       THE COURT: All right. Let me ask you, Mr. Smith: Do you want to go forward
       with the sentencing on – based on the guilty plea we did last year, May 26, and
       the plea agreement that was – that you signed last year on May 26?

       THE DEFENDANT: Yes, sir.

       THE COURT: Okay. Now, you have an option, and I’ll allow you – if you want
       to withdraw this plea and you want to go to trial and have all the constitutional
       rights associated with trial, I will allow that. Okay? But I want you to tell me one
       way or the other, would you like to be sentenced today on the guilty plea or
       would you like to take a step back and go to trial?

       THE DEFENDANT: I would like to be sentenced today, sir.

       THE COURT: Okay. So you want – do you affirm the guilty plea that you made
       last year?

       THE DEFENDANT: Yes, sir.

       THE COURT: Do you want the Court to apply what’s set forth in this written
       plea agreement?

       THE DEFENDANT: Yes, sir.

       THE COURT: Okay. All right.

Id. at 6-7. The court heard evidence and argument and sentenced Smith to a below-guidelines

sentence of 168 months. Id. at 48.

       Nothing in the record supports Smith’s allegations that Weston coerced him into

pleading guilty, or that Willis told him that he could not withdraw his plea, or that he was

never advised that his motion was not being considered by the court. To the contrary, Smith’s

sworn affirmations in open court confirm that he knowingly entered the plea agreement and

pleaded guilty after having all the factors and consequences explained to him. Moreover, the

concerns he expressed in his October 2017 letter to the prosecutor were addressed insofar as

he did not plead guilty to conspiracy and he was sentenced to less than 188 months.


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       Finally, Smith argues that Weston and Willis failed to research his case, and failed to

advise him he could have a relevant conduct hearing on the issue of drug quantity. However,

he does not describe any evidence that further investigation would have revealed. Rather, he

makes a conclusory allegation that without more, does not show that his counsel provided

ineffective assistance. Nor does Smith describe what would have been revealed at a relevant

conduct hearing. The court set out the issues with regard to drug quantities at the sentencing

hearing and heard testimony from Smith. Sent. Hr’g Tr., ECF No. 215 at 28-36. This argument

also is conclusory and does not show that his attorneys provided ineffective assistance.

       Following a review of the arguments by the parties and the record in this case, the court

concludes that attorneys Kenney, Weston, and Willis provided effective assistance of counsel

to Smith. Accordingly, the government’s motion to dismiss, ECF No. 217 is GRANTED and

Smith’s motion for relief under § 2255 is DENIED.

       C. Smith’s Motion for Summary Judgment

       Smith filed a motion for summary judgment on August 21, 2019, arguing that the

government had not timely filed its motion to dismiss and that summary judgment should be

granted because there was no genuine issue of material fact. However, on August 16, 2019,

the government had filed a motion for extension of time until August 19, 2019 to file its

motion. ECF No. 216. The government filed its motion on that date, and on August 20, 2019

the court granted the motion for extension of time and deemed the motion to dismiss timely

filed. ECF No. 218. Therefore, Smith’s motion for summary judgment based on lack of

response by the government, ECF No. 219, is DENIED as moot.




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                                      CONCLUSION

       For the reasons stated, the court GRANTS the government’s motion to dismiss, ECF

No. 217, and DENIES Smith’s motion for relief under 28 U.S.C. § 2255, ECF No. 202.

Smith’s motion for summary judgment, ECF No. 219, is DENIED as moot. Because Smith

has failed to make a substantial showing of the denial of a constitutional right as required by

28 U.S.C. § 2253(c) and Slack v. McDaniel, 529 U.S. 473, 484 (2000), a certificate of

appealability is DENIED.

       An appropriate Order will be entered.

                                           Entered:      April 15, 2020
                                                             Digitally signed by Michael F. Urbanski
                                            Michael F.       DN: cn=Michael F. Urbanski, o=Western
                                                             District of Virginia, ou=United States
                                                             District Court,
                                            Urbanski         email=mikeu@vawd.uscourts.gov, c=US
                                                             Date: 2020.04.15 14:15:28 -04'00'

                                           Michael F. Urbanski
                                           Chief United States District Judge




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